     Case 2:16-cv-08056-RSWL-SK Document 1 Filed 10/28/16 Page 1 of 28 Page ID #:1




 1   RICKEY IVIE, ESQ. (SBN #76864)
     rivie@imwlaw.com
 2   RODNEY S. DIGGS, ESQ. (SBN #274459)
 3
     rdiggs@imwlaw.com
     ANTONIO K. KIZZIE, ESQ. (SBN #279719)
 4   akizzie@imwlaw.com
     ELVIN I. TABAH, ESQ. (S.B.N.: 286369)
 5   etabah@imwlaw.com
     SAMUEL E. CHILAKOS, ESQ. (SBN# 186296)
 6   sam@chilakoslaw.com
     IVIE, McNEILL & WYATT
 7   444 S. Flower St., Suite 1800
     Los Angeles, CA 90071
 8   Tel: (213) 489-0028; Fax: (213) 489-0552
 9   Attorneys for Plaintiffs YOURS, MINE AND OURS MUSIC,
     LARRY WHITE, CONNIE WILKINS, and LISA PETERS
10
11                      UNITED STATES DISTRICT COURT
12                    CENTRAL DISTRICT OF CALIFORNIA
13    YOURS, MINE AND OURS                ) CASE NO.: 16-CV-8056
      MUSIC, a California partnership,    )
14    LARRY WHITE, an individual,         )
      ESTATE OF GRADY WILKINS,            ) COMPLAINT FOR DAMAGES
15    deceased, by and through his heir   )
      CONNIE WILKINS, and ESTATE          )   1. COPYRIGHT
16    OF LEE PETERS, deceased, by and     )      INFRINGEMENT
17
      through his heir LISA PETERS,       )   2. DECLARATORY AND
                                          )      INJUNCTIVE RELIEF
18                                        )   3. ACCOUNTING
                        Plaintiffs,       )
19    vs.                                 ) JURY TRIAL DEMANDED
                                          )
20                                        )
      SONY MUSIC                          )
21    ENTERTAINMENT, A Delaware           )
      Corporation,                        )
22    WARNER/CHAPPELL MUSIC,              )
      INC., a Delaware Corporation, RCA   )
23    RECORDS, INC., a Delaware           )
      Corporation, ATLANTIC               )
24    RECORDING CORPORATION, a            )
      Delaware Corporation, MARK          )
25    DANIEL RONSON p/k/a MARK            )
      RONSON, an individual, PETER        )
26    GENE HERNANDEZ, p/k/a               )
27
      BRUNO MARS, an individual,          )
      JAMAREO ARTIS, an individual,       )
28    p/k/a JAM, JEFF BHASKER, an         )

                            COMPLAINT FOR DAMAGES
                                           1
     Case 2:16-cv-08056-RSWL-SK Document 1 Filed 10/28/16 Page 2 of 28 Page ID #:2



      individual, PHILIP LAWRENCE, an         )
 1    individual, ARI LEVINE, an              )
      individual, NICHOLAUS                   )
 2    WILLIAMS, an individual, p/k/a          )
 3    TRINIDAD JAMES,                         )
      CHRISTOPHER GALLASPY, an                )
 4    individual, LAWRENCE “BOO”              )
      MITCHELL, an individual, WAY            )
 5    ABOVE MUSIC (BMI), a California         )
      Corporation, MARS FORCE                 )
 6    MUSIC, LP, a California limited         )
      partnership, THOU ART THE               )
 7    HUNGER, a California Corporation,       )
      WB MUSIC CORP, a Delaware               )
 8    Corporation, WINDSWEPT                  )
      HOLDINGS LLC, a California              )
 9    limited liability company,              )
      UNIVERSAL MUSIC                         )
10    CORPORATION, a Delaware                 )
      Corporation, IMAGEM MUSIC,              )
11    INC, a Delaware corporation, ZZR        )
12
      MUSIC, LLC, a California limited        )
      liability company, TIG7                 )
13    PUBLISHING, LLC, a Georgia              )
      limited liability company, and DOES     )
14    1-30, INCLUSIVE,                        )
15                       Defendants.
16         COME NOW Plaintiffs YOURS MINE AND OURS MUSIC, a California
17   partnership, LARRY WHITE, an individual, CONNIE WILKINS, an individual
18   and heir to the estate of GRADY WILKINS, deceased, and LISA PETERS, an
19   individual and heir to the estate of LEE PETERS, deceased, (hereinafter
20   “Plaintiffs”) by and through their attorneys at Ivie, McNeill & Wyatt, in their
21   Complaint for Damages (“COMPLAINT”) against Defendants SONY MUSIC
22
     ENTERTAINMENT, A Delaware Corporation, WARNER/CHAPPELL MUSIC, a
23
     Delaware Corporation, RCA RECORDS, INC., a Delaware Corporation,
24
     ATLANTIC RECORDING CORPORATIONS, a Delaware Corporation, MARK
25
     DANIEL RONSON p/k/a MARK RONSON, an individual, PETER GENE
26
     HERNANDEZ, p/k/a BRUNO MARS, an individual, JAMAREO ARTIS, an
27
     individual, p/k/a JAM, JEFF BHASKER, an individual, PHILIP LAWRENCE, an
28

                             COMPLAINT FOR DAMAGES
                                                  2
     Case 2:16-cv-08056-RSWL-SK Document 1 Filed 10/28/16 Page 3 of 28 Page ID #:3




 1   individual, ARI LEVINE, an individual, NICHOLAUS WILLIAMS, an individual,

 2   p/k/a TRINIDAD JAMES, CHRISTOPHER GALLASPY, an individual,
 3   LAWRENCE “BOO” MITCHELL, an individual, WAY ABOVE MUSIC, MARS
 4   FORCE MUSIC, LP, a California limited partnership, THOU ART THE
 5   HUNGER, a California Corporation, WB MUSIC CORP, a Delaware Corporation,
 6   WINDSWEPT HOLDINGS LLC, a California limited liability company,
 7   UNIVERSAL MUSIC CORPORATION, a Delaware Corporation, IMAGEM
 8   MUSIC, INC, a Delaware corporation, ZZR MUSIC, LLC, a California
 9   corporation, TIG7 PUBLISHING, LLC, a Georgia Corporation, and DOES 1-30,
10
     INCLUSIVE, (Hereinafter “Defendants,” collectively), hereby allege as follows:
11
                                 NATURE OF THE CASE
12
           1.     This is a civil action seeking damages, declaratory and injunctive
13
     relief for copyright infringement arising under 17 U.S.C. §§ 101, et seq. (referred
14
     to herein as the “Copyright Act”), and other related causes of action.
15
           2.     Plaintiffs YOURS MINE AND OURS MUSIC, LARRY WHITE,
16
     estate of GRADY WILKINS and estate of LEE PETERS (hereinafter “Plaintiffs,”
17
     collectively) were a publishing company and members of a 1980s electro-funk
18
     band named “Collage” and possess a beneficial interest in the United States
19
     copyright in and to a 1983 “Minneapolis/1980s electro-funk soul” style musical
20
     composition Plaintiffs created entitled “Young Girls” (hereinafter the “Original
21
     Composition” and/or “Young Girls”) initially embodied on a sound recording
22
     Plaintiffs produced (hereinafter the “Original Sound Recording” or “Copyrighted
23
     Works,” collectively).
24
           3.     Plaintiffs bring this action for, inter alia, copyright infringement in
25
     connection with a certain musical composition and sound recording entitled
26
     “Uptown Funk” (hereinafter “Infringing Work” or “Uptown Funk”) which is
27
     strikingly or substantially similar to Plaintiffs’ Copyrighted Works with the same
28

                              COMPLAINT FOR DAMAGES
                                                3
     Case 2:16-cv-08056-RSWL-SK Document 1 Filed 10/28/16 Page 4 of 28 Page ID #:4




 1   “Minneapolis/electro-funk soul” sounds throughout and was released on the Album
 2   “Uptown Special” (hereinafter the “Infringing Album”) by performing artists
 3   Defendants MARK DANIEL RONSON p/k/a “MARK RONSON” (hereinafter
 4   “DEFENDANT RONSON”) and PETER GENE HERNANDEZ p/k/a “BRUNO
 5   MARS” (hereinafter Defendant “BRUNO MARS”).
 6         4.     Plaintiffs’ Original Composition and/or Original Sound Recording
 7   may be compared to Defendants’ Infringing Work, and is located on the
 8   YouTube.com portal at the webpage below listed as:
 9         Collage- “Young Girls”- https://www.youtube.com/watch?v=pfTr_fgQpvg
10         5.     Defendants’ Infringing Work is an obvious, strikingly and/or
11   substantially similar copy of Plaintiffs’ Original Composition and/or Original
12   Sound Recording that is located on the YouTube.com portal at the webpage listed
13   as:
14         “Uptown Funk”- https://www.youtube.com/watch?v=OPf0YbXqDm0
15         6.     The Infringing Work was released as a first single and multi-national
16   multi-platinum hit by Defendants RONSON and BRUNO MARS in or around
17   November 10, 2014 in the Infringing Album.
18         7.     The commercial success of “Uptown Funk” and ensuing damage to
19   Plaintiffs cannot be overstated. As of July 2016, "Uptown Funk" has sold in excess
20   of 6,100,000 copies of the single in the United States alone. It also became one of
21   the longest running singles in Billboard's Hot 100 history, the longest-running
22   number-one single of the 2010s decade, and the second-longest number-one single
23   in Billboard history. The song is reported to earn $100,000 for the label and
24   copyright claimants per week via streaming on Spotify alone. The video for
25   “Uptown Funk” is also only the ninth video on YouTube to receive over 1 billion
26   views and fifth most viewed YouTube video of all time. Finally, the Infringing
27   Work is RIAA certified multi-platinum in the United States and several other
28

                             COMPLAINT FOR DAMAGES
                                              4
     Case 2:16-cv-08056-RSWL-SK Document 1 Filed 10/28/16 Page 5 of 28 Page ID #:5




 1   countries. “Uptown Funk” recently won a Grammy Award for “Record of the
 2   Year.”
 3         8.     Defendants RONSON, BRUNO MARS and/or DOES 1 through 30
 4   have openly admitted that the creation of "Uptown Funk" was heavily influenced
 5   by the “Minneapolis electro-funk soul” sound of the early 1980s. This genre was
 6   pioneered by recording artists Prince, The Time with Morris Day, The Gap Band,
 7   and Plaintiffs’ band, Collage, among others.
 8         9.     Upon information and belief, Defendants RONSON, BRUNO MARS,
 9   PHILIP LAWRENCE (hereinafter “Defendant LAWRENCE”), an individual, ARI
10   LEVINE (hereinafter “Defendant LEVINE”), an individual, NICHOLAUS
11   WILLIAMS (hereinafter “Defendant WILLIAMS”), an individual,
12   CHRISTOPHER GALLASPY (hereinafter “Defendant GALLASPY”), JEFF
13   BHASKER (hereinafter “Defendant BHASKER”), JAMAREO ARTIS (hereinafter
14   “Defendant ARTIS”), LAWRENCE “BOO” MITCHELL (hereinafter “Defendant
15   MITCHELL”), an individual, and DOES 1 through 30 are credited and/or claim
16   credit for the creation of the music composition and sound recording of the
17   Infringing Work. Upon information and belief, DEFENDANT RONSON
18   specifically claims creation/arrangement of certain sounds including, but not
19   limited to, those from the guitar riffs, keyboards, and Linn drums present in the
20   infringing work. Upon information and belief, Defendant BRUNO MARS
21   specifically claims creation/arrangement of certain sounds including, but not
22   limited to the sounds from the drums, guitar and/or vocals present in the infringing
23   work. Upon information and belief, Defendant ARTIS specifically claims
24   creation/arrangement of certain sounds including, but not limited to the sounds
25   from the bass guitar and/or vocals present in the infringing work.
26         10.    Upon information and belief, songwriting of the Infringing Work is
27   credited to and/or claimed by Defendants RONSON, BRUNO MARS,
28

                             COMPLAINT FOR DAMAGES
                                               5
     Case 2:16-cv-08056-RSWL-SK Document 1 Filed 10/28/16 Page 6 of 28 Page ID #:6




 1   LAWRENCE, WILLIAMS, MITCHELL and BHAKSER. However, since the
 2   release of “Uptown Funk” and with conceded claims of copying and/or
 3   contribution by other artists, the list of songwriters has grown to eleven (11)
 4   claimants and include members of another “Minneapolis/1980s electro-funk soul”
 5   band called “The Gap Band.” On information and belief, Defendant BRUNO
 6   MARS is a writer, composer, publisher, performer, purported creator/owner and/or
 7   beneficiary of the Infringing Work, “Uptown Funk.” On information and belief,
 8   Defendant RONSON is a writer, composer, publisher, performer, purported
 9   creator/owner and/or beneficiary of the infringing music compositions and sound
10   recording “Uptown Funk.” On information and belief, Defendant ARTIS is a
11   writer, composer, publisher, performer, purported creator/owner and/or beneficiary
12   of the infringing music compositions and sound recording “Uptown Funk.” On
13   information and belief, Defendant JEFF BHASKER is a writer, composer,
14   publisher, performer, purported creator/owner and/or beneficiary of the infringing
15   music compositions and sound recording “Uptown Funk.” On information and
16   belief, Defendant LAWRENCE is a writer, composer, publisher, performer,
17   purported creator/owner and/or beneficiary of the infringing music compositions
18   and sound recording “Uptown Funk.” On information and belief, Defendant
19   LEVINE is a writer, composer, publisher, performer, purported creator/owner
20   and/or beneficiary of the infringing music compositions and sound recording
21   “Uptown Funk.” On information and belief, Defendant GALLASPY is a writer,
22   composer, publisher, performer, purported creator/owner and/or beneficiary of the
23   infringing music compositions and sound recording “Uptown Funk.” On
24   information and belief, Defendant MITCHELL, an individual, is a writer,
25   composer, publisher, performer, purported creator/owner and/or beneficiary of the
26   infringing music compositions and sound recording “Uptown Funk.”
27         11.    Upon information and belief and despite knowledge and notice of
28

                              COMPLAINT FOR DAMAGES
                                               6
     Case 2:16-cv-08056-RSWL-SK Document 1 Filed 10/28/16 Page 7 of 28 Page ID #:7




 1   such infringement, and demands to cease and desist such activities, Defendants
 2   have willfully and deliberately released, sold and distributed the Infringing Work
 3   to the public, which is a clear, strikingly and/or substantially similar derivative of
 4   the Copyrighted Works Plaintiffs composed and created. The original music of the
 5   Copyrighted Works is slightly altered but clearly recognizable. Defendants have
 6   also repeatedly performed their derivative of Plaintiffs’ Copyrighted Works for
 7   compensation, including during the February 7, 2016 Pepsi Super Bowl 50 Half-
 8   Time Show.
 9         12.    Upon information and belief, despite notice that their actions
10   constituted copyright infringement, Defendants continue to make, copy, distribute,
11   exploit and publicly perform the Infringing Work.
12         13.    Plaintiffs’ Copyrighted Works were copied into the Infringing Work.
13   The Defendants named herein are the performers, writers, producers, publishers,
14   administrators, distributors, and record labels associated with “Uptown Funk,” who
15   wrote, created, copied, published, licensed, distributed, manufactured and/or sold
16   “Uptown Funk,” or authorized others, to do so in various media.
17         14.    By this action, Plaintiffs seek judgment: (a) Declaring that
18   Defendants’ unauthorized creation and/or distribution of the Infringing Work
19   willfully infringed Plaintiffs’ copyrights in and to the Copyrighted Works in
20   violation of the 1976 Copyright Act; (b) For a preliminary and permanent
21   injunction enjoining Defendants and their respective agents, employees, officers
22   and directors, attorneys, successors, licensees, and assigns, and all those persons
23   acting in concert and combination therewith, from further infringement of
24   Plaintiffs’ copyrights in the Copyrighted Works, including but not limited to the
25   sale and distribution of the Infringing Work and the Infringing Album; (c)
26   Ordering that the Defendants deliver up for destruction all copies including without
27   limitation digital masters and phonorecords containing the Infringing Work which
28

                              COMPLAINT FOR DAMAGES
                                                7
     Case 2:16-cv-08056-RSWL-SK Document 1 Filed 10/28/16 Page 8 of 28 Page ID #:8




 1   have been made or used in violation of the Plaintiffs’ exclusive rights, and of all
 2   masters or other articles by means of which such copies or phonorecords may be
 3   reproduced; (d) Awarding Plaintiffs, at their election, either (i) actual damages and
 4   the profits derived by Defendants as a result of their infringing activities, pursuant
 5   to 17 U.S.C. § 504(b), or (ii) statutory damages in the maximum amount with
 6   respect to the Copyrighted Works, pursuant to 17 U.S.C. § 504(c); (e) For an
 7   accounting, the imposition of a constructive trust and restitution and disgorgement
 8   of Defendants’ unlawful profits and benefits obtained as a result of their
 9   misappropriation and damages according to proof; (f) For punitive and exemplary
10   damages in such amount as may be awarded at trial; (g) For prejudgment interest
11   according to law; and (h) Awarding Plaintiffs their attorneys’ fees and full costs
12   pursuant to 17 U.S.C. §505.
13                                         PARTIES
14         15.    Plaintiff YOURS MINE AND OURS is a partnership engaged in
15   systematic and continuous business in the State of California that is a copyright
16   claimant to the Original Composition, “Young Girls,” which is the subject of this
17   action.
18         16.    Plaintiff LARRY WHITE is an individual, former group member of
19   Collage and co-author of the Copyrighted Works “Young Girls” who resides in
20   Las Vegas, Nevada.
21         17.    Plaintiff CONNIE WILKINS is an individual, wife and heir to
22   deceased co-author and group member of Collage, Mr. GRADY WILKINS, also a
23   co-author of the Copyrighted Works and sound recording “Young Girls” who
24   resides in Las Vegas, Nevada.
25         18.    Plaintiff LISA PETERS is an individual, daughter and heir to
26   deceased co-author and group member of Collage, Mr. LEE PETERS, who was
27   also a co-author of the Copyrighted Works and sound recording “Young Girls”
28

                              COMPLAINT FOR DAMAGES
                                                8
     Case 2:16-cv-08056-RSWL-SK Document 1 Filed 10/28/16 Page 9 of 28 Page ID #:9




 1   who now resides in Sacramento, California.
 2         19.    On information and belief, Defendant SONY MUSIC
 3   ENTERTAINMENT is a corporation engaged in systematic and continuous
 4   business in the State of California that is involved in the infringement and/or
 5   benefits therefrom or continues to perpetuate the infringement, which also took
 6   place in Los Angeles, California in whole or in part.
 7         20.    On information and belief, Defendant WARNER/CHAPPELL
 8   MUSIC, INC. is a corporation engaged in systematic and continuous business in
 9   the State of California that is involved in the infringement and/or benefits
10   therefrom or continues to perpetuate the infringement, which also took place in Los
11   Angeles, California in whole or in part.
12         21.    On information and belief, Defendant RCA RECORDS, INC. is a
13   corporation engaged in systematic and continuous business in the State of
14   California that is involved in the infringement and/or benefits therefrom or
15   continues to perpetuate the infringement, which also took place in Los Angeles,
16   California in whole or in part.
17         22.    On information and belief, Defendant ATLANTIC RECORDING
18   CORPORATIONS is a corporation engaged in systematic and continuous business
19   in the State of California that is involved in the infringement and/or benefits
20   therefrom or continues to perpetuate the infringement, which also took place in Los
21   Angeles, California in whole or in part.
22         23.    On information and belief, Defendant RONSON is also an individual
23   doing business in the State of California involved in the infringement which took
24   place in Los Angeles, California.
25         24.    On information and belief, Defendant BRUNO MARS is an
26   individual doing business in the State of California involved in the infringement
27   which took place in Los Angeles, California.
28

                              COMPLAINT FOR DAMAGES
                                                9
     Case 2:16-cv-08056-RSWL-SK Document 1 Filed 10/28/16 Page 10 of 28 Page ID #:10




 1          25.    On information and belief, Defendant ARTIS is an individual doing
 2    business in the State of California involved in the infringement which took place in
 3    Los Angeles, California.
 4          26.    On information and belief, Defendant BHASKER is an individual
 5    doing business in the State of California involved in the infringement which took
 6    place in Los Angeles, California.
 7          27.    On information and belief, Defendant LAWRENCE is an individual
 8    doing business in the State of California involved in the infringement which took
 9    place in Los Angeles, California.
10          28.    On information and belief, Defendant LEVINE is an individual doing
11    business in the State of California involved in the infringement which took place in
12    Los Angeles, California.
13          29.    On information and belief, Defendant GALLASPY is an individual
14    doing business in the State of California involved in the infringement which took
15    place in Los Angeles, California.
16          30.    On information and belief, Defendant MITCHELL is an individual
17    doing business in the State of California and Tennessee involved in the
18    infringement which took place in Los Angeles, California.
19          31.    On information and belief, Defendant WAY ABOVE MUSIC is a
20    corporation doing business in the State of California involved in the infringement
21    which took place in Los Angeles, California.
22          32.    On information and belief, Defendant MARS FORCE MUSIC, LP is
23    a limited partnership doing business in the State of California involved in the
24    infringement which took place in Los Angeles, California.
25          33.    On information and belief, Defendant THOU ART THE HUNGER is
26    a corporation doing business in the State of California involved in the infringement
27    which took place in Los Angeles, California.
28

                              COMPLAINT FOR DAMAGES
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     Case 2:16-cv-08056-RSWL-SK Document 1 Filed 10/28/16 Page 11 of 28 Page ID #:11




 1          34.    On information and belief, Defendant WB MUSIC CORP is a
 2    Delaware corporation doing business in the State of California involved in the
 3    infringement which took place in Los Angeles, California.
 4          35.    On information and belief, Defendant WINDSWEPT HOLDINGS
 5    LLC, a California limited liability company, engaged in systematic and continuous
 6    business in the State of California that is involved in the infringement and/or
 7    benefits therefrom or continues to perpetuate the infringement, which also took
 8    place in Los Angeles, California in whole or in part.
 9          36.    On information and belief, Defendant UNIVERSAL MUSIC
10    CORPORATION is a Delaware corporation engaged in systematic and continuous
11    business in the State of California that is involved in the infringement and/or
12    benefits therefrom or continues to perpetuate the infringement, which also took
13    place in Los Angeles, California in whole or in part.
14          37.    On information and belief, Defendant IMAGEM MUSIC, INC is a
15    Delaware corporation engaged in systematic and continuous business in the State
16    of California that is involved in the infringement and/or benefits therefrom or
17    continues to perpetuate the infringement, which also took place in Los Angeles,
18    California in whole or in part.
19          38.    On information and belief, Defendant ZZR MUSIC, LLC is a limited
20    liability company engaged in systematic and continuous business in the State of
21    California that is involved in the infringement and/or benefits therefrom or
22    continues to perpetuate the infringement, which also took place in Los Angeles,
23    California in whole or in part.
24          39.    On information and belief, Defendant TIG7 PUBLISHING, LLC is a
25    Georgia limited liability company, engaged in systematic and continuous business
26    in the State of California that is involved in the infringement and/or benefits
27    therefrom or continues to perpetuate the infringement, which also took place in Los
28

                               COMPLAINT FOR DAMAGES
                                                11
     Case 2:16-cv-08056-RSWL-SK Document 1 Filed 10/28/16 Page 12 of 28 Page ID #:12




 1    Angeles, California in whole or in part.
 2                               JURISDICTION AND VENUE
 3           40.    This Court has jurisdiction over the subject matter of this action
 4    pursuant to 28 U.S.C. §§ 1331 and 1338 because this action arises under the laws
 5    of the United States and the controversy arises under the Copyright Act (17 U.S.C.
 6    §§ 101 et seq).
 7           41.    This Court has supplemental jurisdiction over the related state claims
 8    herein under 28 U.S.C. § 1367 in that these claims form part of the same case and
 9    controversy as the federal claims herein. Pursuant to 28 U.S.C. § 1332 there is also
10    diversity of citizenship between the parties and the amount in controversy that
11    exceeds $75,000.00.
12           42.    This Court has personal jurisdiction over Defendants on the grounds
13    that they reside in and/or are knowingly and purposely doing business in this State
14    and District as all Defendants have purposefully availed themselves of the
15    jurisdiction of this Court by transacting business and committing unlawful acts of
16    infringement in this Judicial District and the State of California concerning the
17    Original Composition and Original Sound Recording at issue in this action.
18           43.    Venue properly lies in this Court pursuant to 28 U.S.C. § 1391 (a) and
19    (b) because a substantial part of the events that are the subject matter of this
20    lawsuit occurred and are occurring in this judicial district.
21                      ALLEGATIONS COMMON TO ALL COUNTS
22                                     A. “YOUNG GIRLS”
23      THE INFRINGED SONG, COPYING, EXPLOITATION AND STRIKING
24                                         SIMILARITY
25           44.    Plaintiffs repeat and reallege the allegations set forth in paragraphs 1-
26    43, inclusive, as if fully set forth herein.
27           45.    In the early 1980s in Los Angeles, California, Plaintiffs were the
28

                                COMPLAINT FOR DAMAGES
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     Case 2:16-cv-08056-RSWL-SK Document 1 Filed 10/28/16 Page 13 of 28 Page ID #:13




 1    publishing company of and/or members of an “electro-funk soul” band called
 2    “Collage.” Collage was signed at this time to production company, Whispers
 3    Music, Inc., with a distribution deal with a famous Los Angeles record label called
 4    Sound of Los Angeles Records (hereinafter “SOLAR.”)
 5          46.      Some of Plaintiffs’ greatest hits included the singles “Young Girls” in
 6    1983 and a crossover hit both in United States and United Kingdom called
 7    “Romeo, Where’s Juliet?”, both of which were commercially released in the U.S.
 8    and U.K. “Young Girls” was specifically distributed by Elektra/Asylum Records, a
 9    Warner Communications owned company at that time.
10          47.      In or around 1983, Plaintiffs Larry White and his now deceased band
11    mates, Mr. Grady Wilkins and Mr. Lee Peters, invested substantial funds, talent
12    and hours to independently compose, write, produce and create a new, original
13    arrangement and music composition entitled “Young Girls” hereinafter the
14    (“Original Composition”, “Copyrighted Work,” and/or “Young Girls”) heavy with
15    the bass, rhythm, funky guitar riffs and synthesizer arrangements characteristic of
16    the early 1980s Minneapolis electro-funk soul era. At all material times herein and
17    to this date, Plaintiffs were co-creators and beneficial owners in the Original
18    Composition entitled, “Young Girls.”
19          48.      Moreover, Plaintiffs recorded a sound recording, embodying the
20    Original Composition (hereinafter the “Original Sound Recording”). The Original
21    Composition and Original Sound Recording (hereinafter the “Copyrighted Works,”
22    collectively) are original works created by Plaintiffs and were copyrighted in or
23    around 1983. A claim of copyright in the Copyrighted Works “Young Girls” was
24    registered and recorded with the United States Copyright Office. A printed copy of
25    the public catalog of the copyright registration of “Young Girls” is dated and
26    identified as follows: July 13, 1983, No. PA0000180504 and attached hereto as
27    Exhibit “A.”
28

                                COMPLAINT FOR DAMAGES
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     Case 2:16-cv-08056-RSWL-SK Document 1 Filed 10/28/16 Page 14 of 28 Page ID #:14




 1          49.      After creating the Copyrighted Works, Plaintiffs as the author and/or
 2    co-creators transferred a portion of their copyright in a co-publishing deal to
 3    publishing companies “Spectrum VII” and co-Plaintiff “Yours Mine & Ours
 4    Music,” whom are named as Copyright Claimants on the certificate, in exchange
 5    for payment of royalties from the Copyrighted Work’s exploitation. Spectrum VII
 6    had a co-publishing deal with Yours, Mine & Ours which included the right to
 7    administer copyrights that were created by writers that were signed to Yours, Mine
 8    & Ours during the term of the co-publishing deal. Upon information and belief,
 9    “Spectrum VII” was subsequently acquired by “Sony/ATV.” Upon information
10    and belief, Plaintiff Yours, Mine & Ours is still owned solely by the Whispers.
11    Spectrum VII maintained administration rights for the length of copyright of the
12    Copyrighted Works that were created during the term of the co-publishing
13    agreement. Accordingly, "Young Girls" is still subject to the co-publishing deal.
14    The co-publishing agreement was coterminous with the Whispers record deal with
15    SOLAR. Spectrum VII/Sony/ATV continued and continues to administer the
16    songs that were created during the term, but Sony has no ownership interest in
17    Plaintiff Yours, Mine & Ours.
18          50.      At all material times herein and to this date, Plaintiffs possessed a
19    sufficient beneficial interest in the Copyrighted Work as its co-composers and,
20    thereby, is/was a beneficial owner in the Copyrighted Work and sound recording
21    entitled “Young Girls” with standing to seek judicial relief against copyright
22    infringement under the 1976 Copyright Act. 17 U.S.C. § 501(b). See Cortner v.
23    Israel (1984) 732 F.2d 267,271; Broad. Music, Inc. v. Hirsch, 104 F.3d 1163, 1166
24    (9th Cir. 1997) (“Beneficial ownership arises by virtue of section 501(b) for the
25    purpose of enabling an author or composer to protect his economic interest in a
26    copyright that has been transferred. citing Cortner v. Israel, 732 F.2d 267, 271 (2nd
27    Cir.1984).”)
28

                                 COMPLAINT FOR DAMAGES
                                                  14
     Case 2:16-cv-08056-RSWL-SK Document 1 Filed 10/28/16 Page 15 of 28 Page ID #:15




 1          51.    Among the exclusive rights granted to Plaintiffs under the Copyright
 2    Act are rights for payment and accounting of royalties for reproduction,
 3    distribution and/or exploitation of the Copyrighted Works to the public. At all
 4    times relevant herein, Plaintiffs were also entitled to accounting and payment of
 5    mechanical royalties by any and all persons or entities that record or otherwise
 6    exploit the Copyrighted Works.
 7          52.    Defendant RONSON (is an English musician, DJ, singer, songwriter
 8    and record producer. While attending New York University, Defendant RONSON
 9    became a regular at downtown hip hop spots and made his name as a DJ on the
10    New York club scene in 1993. Defendant RONSON was known for his diverse,
11    genre-spanning selection of music heavily influenced by and/or comprised of
12    funk/“electro-funk soul,” New York hip hop and UK rock.
13          53.    During the 80s, 90s and even today, it was/is a well-established
14    practice of record labels to provide DJs with singles and albums of artists for
15    purposes of marketing said artists. Further, internet music databases/streaming
16    services such as Youtube, Pandora, Apple Music, Spotify, etc. often and very
17    easily facilitate exposure of music artists in similar genres and various eras to the
18    listener. By virtue of Defendant RONSON not only being a DJ, but a DJ
19    specializing in electro-funk mixing/sets and with a demonstrated ear/interest in
20    said genre since the 1980s/90s and today with both American/New York and UK
21    roots (both of which were places Collage had a following and commercial success)
22    and a member of the Sony music family which had Collage’s catalogue upon its
23    acquisition of Spectrum VII, upon information and belief Defendant RONSON had
24    reasonable access to the Copyrighted Work “Young Girls” and used such in the
25    creation of the infringing work, “Uptown Funk,” (hereinafter “Infringing Work”)
26    as evidenced by its striking and/or substantial similarity to Plaintiffs’ Original
27    Composition and Original Sound Recording, “Young Girls.”
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                               COMPLAINT FOR DAMAGES
                                                15
     Case 2:16-cv-08056-RSWL-SK Document 1 Filed 10/28/16 Page 16 of 28 Page ID #:16




 1          54.    DEFENDANT BRUNO MARS is an American singer, songwriter,
 2    record producer, and choreographer.
 3          55.     Like Defendant RONSON, Defendant BRUNO MARS has
 4    established himself as an impeccable entertainer in the pop, pop rock, rhythm and
 5    blues, and funk genres of music. Defendant BRUNO MARS is known for his stage
 6    performances and retro-funk style music, instrumentation, costumes, dances and
 7    showmanship.
 8          56.    Like Ronson, Defendant BRUNO MARS has always demonstrated a
 9    keen interest, exposure and talent in the rhythm and blues (“R&B”)/funk style of
10    music among others. Defendant BRUNO MARS’ music has been noted for
11    displaying a wide variety of styles, musical genres and influences, including funk,
12    pop, rock, reggae, R&B, and soul. Defendant BRUNO MARS lists some of his
13    influences as Prince (an impeccable legend in the area of funk, rock, dance and
14    R&B), George Clinton (another electro-funk pioneer), Elvis Presley, Little
15    Richard, Michael Jackson, and Sly Stone among others. Defendant BRUNO
16    MARS was signed to Motown Records for some time, and then signed with
17    ATLANTIC RECORDING CORPORATION in or about 2009.
18          57.    Internet music databases/streaming services such as Youtube,
19    Pandora, Apple Music, Spotify, etc. often and very easily facilitates exposure of
20    music artists in similar genres and various eras to the listener. By virtue of
21    Defendant BRUNO MARS not only being an avid funk/electro-funk music fan, but
22    also being signed to Motown Records which is/was a powerhouse and treasure
23    trove for soul, R&B, funk artists and music even by non-Motown artists and
24    working with Defendant RONSON whom had reasonable access to Plaintiff’s
25    original works as previously stated, upon information and belief Defendant
26    BRUNO MARS had reasonable access to the Copyrighted Work “Young Girls”
27    and used such consciously or sub-consciously in the creation of the infringing
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                               COMPLAINT FOR DAMAGES
                                                16
     Case 2:16-cv-08056-RSWL-SK Document 1 Filed 10/28/16 Page 17 of 28 Page ID #:17




 1    work “Uptown Funk” as evidenced by its striking and/or substantial similarity to
 2    Plaintiffs’ Original Composition and/or Original Sound Recording, “Young Girls.”
 3          58.    Further showing Defendant BRUNO MARS reasonable access, while
 4    at ATLANTIC RECORDING CORPORATION and on or about December 11,
 5    2012, Defendant BRUNO MARS released an album titled “Unorthodox Jukebox,”
 6    which as a strange but curiously fitting coincidence, also contained and released a
 7    music single titled “Young Girls.”
 8          59.    Upon information and belief, in or about 2012 through 2014,
 9    Defendant RONSON having previously worked with Defendant BRUNO MARS
10    utilized Plaintiffs’ Original Composition and Original Sound Recording, “Young
11    Girls” and produced, created, wrote and/or performed a song recording and music
12    composition entitled “Uptown Funk” created in whole or part in California. Upon
13    information and belief, Defendants, specifically Ronson, Hernandez and/or DOES
14    1 through 30, have repeatedly admittedly to being heavily influenced by and
15    intending to “animate a Minneapolis groove” as set forth in a January 13, 2015
16    article in Rolling Stone magazine among other places.
17          60.    The ensuing commercial success of “Uptown Funk” after its release in
18    November 2014 was unprecedented. As of June 2015, "Uptown Funk" has sold
19    more than 6,100,000 copies of the single in the United States alone. It also became
20    one of the longest running singles in Billboard's Hot 100 history, the longest-
21    running number-one single of the 2010s decade, and the second-longest number-
22    one single in Billboard history. The song is reported to earn $100,000 for the label
23    and copyright claimants per week via streaming on Spotify alone. The video for
24    “Uptown Funk” is also only the ninth video on YouTube to receive over 1 billion
25    views and is the fifth most viewed Youtube video of all time. Finally, the
26    Infringing Work is RIAA certified multi-platinum in the United States and several
27
28

                              COMPLAINT FOR DAMAGES
                                               17
     Case 2:16-cv-08056-RSWL-SK Document 1 Filed 10/28/16 Page 18 of 28 Page ID #:18




 1    other countries.1
 2               61.      Defendants RONSON, BRUNO MARS and/or DOES 1 through 30
 3    have openly admitted that "Uptown Funk" is heavily influenced by the
 4    “Minneapolis electro-funk soul” sound of the early 1980s known to have been
 5    pioneered by the likes of Prince, The Time with Morris Day, The Gap Band, and
 6    Plaintiffs.
 7               62.      Upon information and belief, songwriting of the Infringing Work is
 8    credited to and/or claimed by Defendants RONSON, BRUNO MARS,
 9    LAWRENCE, WILLIAMS, BHAKSER and MITCHELL. However, Plaintiffs,
10    among several other artists, contend that Defendants went much further than
11    merely animating “a Minneapolis groove” and, in fact, copied Plaintiffs’ Original
12    Composition and/or Sound Recording. The Defendants, and each of them, are
13    violating Plaintiff’s copyrights in Plaintiffs’ Original Composition and/or Sound
14    Recording by ownership in and sharing income derived from the exploitation of
15    “Young Girls.”
16               63.      In or about the summer of 2015, fans of Collage and Plaintiffs’ song
17    “Young Girls” repeatedly brought to Plaintiffs’ attention their belief in clear,
18    striking and unequivocal copying between “Young Girls” and “Uptown Funk.”
19               64.      Upon further review and analysis, Defendants’ copying of Plaintiffs’
20    music composition and/or sound recording titled “Young Girls” is so blatant, clear
21    and explicit so as to only be reasonably characterized even by a lay-person in the
22    first several seconds as “strikingly similar” in rhythm, harmony, melody, structure,
23    nature, etc.
24               65.      Upon information and belief, “Young Girls” and “Uptown Funk” both
25    contain strikingly and/or substantially similar, protectable and defining
26    composition elements. The substantial similarities found in “Young Girls” and
27
28    1
          “Multi-Platinum” currently means that the single has sold 2,000,000 or more units.


                                          COMPLAINT FOR DAMAGES
                                                                18
     Case 2:16-cv-08056-RSWL-SK Document 1 Filed 10/28/16 Page 19 of 28 Page ID #:19




 1    “Uptown Funk” are the result of many of the same deliberative creative choices
 2    made by their respective composers, exceeding the similarities that might result
 3    from attempts to evoke a “groove,” “era,” “feel,” of music or a shared genre.
 4    Indeed, these two works are strikingly and/or substantially similar compositionally.
 5          66.    Upon information and belief, many of the main instrumental attributes
 6    and themes of “Uptown Funk” are deliberately and clearly copied from “Young
 7    Girls,” including, but not limited to, the distinct funky specifically noted and timed
 8    consistent guitar riffs present throughout the compositions, virtually if not identical
 9    bass notes and sequence, rhythm, structure, crescendo of horns and synthesizers
10    rendering the compositions almost indistinguishable if played over each other and
11    strikingly similar if played in consecutively.
12          67.    As evidenced by interactions with fans of Plaintiffs’ and Collage’s
13    Copyrighted Works “Young Girls,” ordinary observers immediately recognize the
14    striking similarities between these songs, and recognize the appropriation of
15    “Young Girls” in “Uptown Funk.”
16          68.    The Uptown Funk defendants have, without authorization, and
17    without giving any producer or songwriter credit to Plaintiffs created a derivative
18    work of “Young Girls” and reproduced, distributed, displayed, publicly performed
19    and otherwise exploited the Infringing Work resulting in substantial revenue,
20    profit, exposure, endorsements, etc. for Defendants. Indeed, Defendants played,
21    distributed, performed, sold and/or placed for compensation the Infringing Work
22    “Uptown Funk” in award shows, on radio programs, on internet streaming
23    services, in motion pictures, television and television events, advertisements and
24    continue to do so.
25          69.    Upon information or belief, all Uptown Funk Defendants are
26    responsible in some manner for the events described herein and are liable to the
27    Plaintiffs for the damages they have incurred. Defendants Mark Ronson, BRUNO
28

                               COMPLAINT FOR DAMAGES
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     Case 2:16-cv-08056-RSWL-SK Document 1 Filed 10/28/16 Page 20 of 28 Page ID #:20




 1    MARS, and the other Defendants named herein are the purported writers,
 2    composers, performers, producers, record labels, distributors, and publishers who
 3    were involved in the creation, release, reproduction, distribution, exploitation,
 4    licensing, and public performance of the Infringing Uptown Funk work, embodied
 5    in all forms of media, including videos, digital downloads, records, motion pictures
 6    and advertisements, all of which constitute, among other things, the improper
 7    creation of a derivative work and direct, vicarious, and contributory infringement.
 8    As co-infringers, the Defendants and each of them are jointly and severally liable
 9    for all amounts owed.
10          70.    These acts of infringement were willful, knowing, malicious and
11    perpetrated without regard to the Plaintiffs’ rights.
12          71.    On or about November 6, 2015 and again on or about February 26,
13    2016, all entity Defendants and through their counsel and agents were given notice
14    of the infringement by a letter demanding that they cease and desist the
15    infringement of the Copyrighted Works. A true and correct copy of the cease and
16    desist notices are attached hereto as Exhibit “B,” collectively. Despite the notice,
17    the Uptown Funk Defendants continue to infringe on the Copyrighted Works by
18    reproducing, displaying, distributing, exploiting, licensing, and/or publicly
19    performing the Infringing Uptown Funk work. “Uptown Funk” continues to be
20    reproduced, sold, distributed, publicly performed, licensed and otherwise exploited
21    on compact discs and albums, and as digital downloads, ringtones, and
22    mastertones, in theatrical motion pictures, music videos and advertisements, all
23    without payment or producer or songwriter credit to Plaintiffs.
24          72.    Copyright Office records reflect Defendants RONSON, BRUNO
25    MARS, LAWRENCE, GALLASPY, BHASKER and WILLIAMS as the claimed
26    authors of the Infringing Work “Uptown Funk.” A printed copy of the public
27    catalogs of the copyright registration of “Uptown Funk” are attached hereto as
28

                               COMPLAINT FOR DAMAGES
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     Case 2:16-cv-08056-RSWL-SK Document 1 Filed 10/28/16 Page 21 of 28 Page ID #:21




 1    Exhibit “C,” collectively.
 2            73.   Upon information and belief, at no time did Defendants have any right
 3    to copy, convert, exploit or otherwise use the Composition, Musical Work or any
 4    derivatives thereof without fairly compensating Plaintiffs.
 5            74.   Moreover, Plaintiffs have never received any producer royalties,
 6    mechanical royalties or public performance royalties in connection with the
 7    commercial exploitation of the Original Composition and/or Original Sound
 8    Recording by Defendants or any other third parties.
 9            75.   Upon information and belief, Defendants knew that Plaintiffs were the
10    copyright owner and producer of the Original Composition and/or Original Sound
11    Recording at the time the Infringing Work was developed, distributed, released and
12    sold.
13            76.   While the Defendants, or some of them, attempted to hide their
14    obvious use of the Composition in the Infringing Work by making minor changes,
15    the musical progression of the Original Composition and/or Original Sound
16    Recording are strikingly similar.
17            77.   Defendants have willfully and intentionally disregarded Plaintiffs’
18    copyright ownership interest in the Original Composition and/or Original Sound
19    Recording.
20            78.   Defendants have further wrongfully used, distributed and sold the
21    Infringing Work without obtaining authorization from and/or compensating
22    Plaintiffs for their use of Plaintiffs’ Original Composition and/or Original Sound
23    Recording.
24            79.   Defendants’ unauthorized use of the Infringing Work and their
25    subsequent distribution and sale of the Infringing Work, without authorization and
26    any payment whatsoever to Plaintiffs for such use was and continues to be a direct
27    infringement of Plaintiffs’ copyrights in the Original Composition and/or Original
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                               COMPLAINT FOR DAMAGES
                                                21
     Case 2:16-cv-08056-RSWL-SK Document 1 Filed 10/28/16 Page 22 of 28 Page ID #:22




 1    Sound Recording.
 2           80.    As a result of the Defendants’ acts, Plaintiffs have incurred and
 3    continue to incur significant damages.
 4                               FIRST CLAIM FOR RELIEF
 5                             COPYRIGHT INFRINGEMENT
 6                             (AGAINST ALL DEFENDANTS)
 7           81.     Plaintiffs repeat and reallege the allegations set forth in paragraphs
 8    1-80, inclusive, as if fully set forth herein.
 9           82.    The Infringing Work infringes Plaintiffs’ copyright interest in the
10    Original Composition and/or Original Sound Recording through its unauthorized
11    bodily misappropriation thereof without compensation.
12           83.    Plaintiffs did not authorize, license or consent to the use of the
13    Original Composition and/or Original Sound Recording in the Infringing Work by
14    Defendants without compensation, which constitutes an infringement of Plaintiffs’
15    copyright.
16           84.    Upon information and belief, Defendants had access to Plaintiffs
17    Original Composition and/or Original Sound Recording and intentionally and
18    knowingly infringed the copyright thereto.
19           85.    Further, the copying is so blatant and clear in structure, harmony,
20    rhythm, melody, type/tone/nature and/or arrangement of bass, guitar and/or
21    crescendo horn/synthesizer notes that the Infringing Work and Original
22    Composition and/or Original Sound Recording are strikingly similar rendering
23    access presumed.
24           86.    By including the Infringing Work on the Infringing Album,
25    Defendants have violated Plaintiffs’ copyright in Plaintiffs’ Original Composition
26    and/or Original Sound Recording for the purpose of their own financial gain.
27           87.    Specifically, without authorization or consent, Defendants copied,
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                                COMPLAINT FOR DAMAGES
                                                  22
     Case 2:16-cv-08056-RSWL-SK Document 1 Filed 10/28/16 Page 23 of 28 Page ID #:23




 1    published, and distributed Plaintiffs’ Composition embodied in the Infringing
 2    Work. In addition, Defendants copied Plaintiffs’ Original Composition and/or
 3    Original Sound Recording embodied such in the Infringing Work.
 4          88.     Upon information and belief, Defendants have collected fees and
 5    royalties from the sale of the Infringing Work and the Infringing Album, and
 6    Defendants have retained a portion of those fees and royalties without submitting
 7    any amount to Plaintiffs.
 8          89.     Defendants’ conduct, including infringement, has been, and continues
 9    to be, willful and knowing and with utter and reckless disregard for Plaintiffs’
10    rights, and, as such, Defendants’ direct and willful acts of infringement entitle
11    Plaintiffs to recover from Defendants damages pursuant to 17 U.S.C. § 504.
12          90.     Accordingly, Plaintiffs are entitled to compensatory and/or statutory
13    damages in an amount to be determined at trial, in addition to punitive damages,
14    interest, costs and a statutory award of attorneys’ fees.
15          91.     Plaintiffs do not have an adequate remedy at law for Defendants'
16    wrongful conduct in that (i) Plaintiffs’ copyright is unique and valuable property
17    which has no readily determinable market value; (ii) the infringement by the
18    Defendants constitutes an interference with Plaintiffs’ goodwill and professional
19    reputation; and (iii) Defendants’ wrongful conduct, and the damages resulting to
20    Plaintiffs therefrom, is continuing. Defendants’ use of copyright infringement has
21    caused Plaintiffs irreparable injury, and Defendants threaten to continue to commit
22    these acts.
23          92.     By reason of the foregoing acts of copyright infringement, Plaintiffs
24    are entitled to the impounding and destruction of all copies or phonorecords which
25    have been made or used in violation of the Plaintiffs’ exclusive rights, and of all
26    masters or other articles by means of which such copies or phonorecords may be
27    reproduced pursuant to the Copyright Act, 17 U.S.C. § 503.
28

                               COMPLAINT FOR DAMAGES
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     Case 2:16-cv-08056-RSWL-SK Document 1 Filed 10/28/16 Page 24 of 28 Page ID #:24




 1           93.    By reason of the foregoing acts of copyright infringement, Plaintiffs
 2    are entitled to actual damages including all profits reaped by the Defendants as a
 3    result of their infringement pursuant to the Copyright Act, 17 U.S.C. § 504.
 4    Alternatively, Plaintiffs are entitled to the maximum statutory damages pursuant to
 5    17 U.S.C. §504(c) for each infringement. Therefore, Plaintiffs demand an
 6    accounting to ascertain such profits.
 7           94.    Pursuant to 17 U.S.C. § 505, Plaintiffs are also entitled to his costs
 8    and attorney’s fees.
 9                              SECOND CLAIM FOR RELIEF
10                     DECLARATORY AND INJUNCTIVE RELIEF
11                             (AGAINST ALL DEFENDANTS)
12           95.    Plaintiffs repeat and reallege the allegations set forth in paragraphs 1-
13    94, inclusive, as if fully set forth herein.
14           96.    Plaintiffs possess a beneficial interest in the Original Composition
15    and/or Original Sound Recording making Plaintiffs owner of all right, title and
16    interest (including copyright) in the Copyrighted Works. The Defendants have,
17    individually, and collectively claimed to own such rights independently of
18    Plaintiffs.
19           97.    A judicial declaration is necessary to determine the rights and
20    obligations of the parties.
21           98.    As a result, Plaintiffs seek declaratory judgment that (a) it has the
22    exclusive rights conferred upon a copyright owner under the 1976 Copyright Act
23    to the Original Composition and/or Original Sound Recording, including without
24    limitation the exclusive right to manufacture, distribute, sell and exploit the
25    Copyrighted Works and to grant derivative work licenses therefore including the
26    license required for Defendants to exploit the Infringing Work, (b) none of these
27    Defendants have any interest in and to the Original Composition and/or Original
28

                                COMPLAINT FOR DAMAGES
                                                     24
     Case 2:16-cv-08056-RSWL-SK Document 1 Filed 10/28/16 Page 25 of 28 Page ID #:25




 1    Sound Recording nor the right to exploit the Infringing Work without Plaintiffs’
 2    written approval, and (c) and that any further exploitation of the Infringing Work
 3    constitutes willful copyright infringement. Plaintiffs further seek injunctive relief
 4    requiring that Defendants disgorge to Plaintiffs all monies collected by them within
 5    as purported copyright owners of the Infringing Work and other derivative work
 6    containing Plaintiffs’ Original Composition and/or Original Sound Recording.
 7           99.    Plaintiffs are entitled to an injunction enjoining Defendants and their
 8    agents, employees, and all other persons in active concert or privity or in
 9    participation with them, from directly or indirectly infringing on Plaintiffs’
10    copyright in the Composition and Musical Work or from continuing to market,
11    offer, sell, dispose of, license, lease, transfer, display, advertise, reproduce,
12    develop, or manufacture any works derived, copied, and/or sampled from the
13    Composition and Musical Work, in whatever medium, or to participate or assist in
14    any such activity.
15           100. By reason of the foregoing acts of copyright infringement, Plaintiffs
16    are entitled to declaratory relief and a permanent injunction enjoining Defendants
17    from continuing the aforesaid acts of infringement pursuant to the Copyright Act,
18    17 U.S.C. § 502.
19                               THIRD CLAIM FOR RELIEF
20                                        ACCOUNTING
21                             (AGAINST ALL DEFENDANTS)
22           101.   Plaintiffs repeat and reallege the allegations set forth in paragraphs 1-
23    100, inclusive, as if fully set forth herein.
24           102. Under the causes of action as set forth herein, Plaintiffs may recover
25    any and all profits of Defendants that are attributable to their misappropriation and
26    conversion of Plaintiffs’ ideas and property rights.
27           103. Upon information and belief, Defendants received, and continue to
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                                COMPLAINT FOR DAMAGES
                                                  25
     Case 2:16-cv-08056-RSWL-SK Document 1 Filed 10/28/16 Page 26 of 28 Page ID #:26




 1    receive, profits from the sale of and contracts related to the Infringing Album and
 2    the Infringing Work that violate Plaintiffs’ copyright interests in the Original
 3    Composition and/or Original Sound Recording.
 4          104. Plaintiffs are entitled to a full accounting of all net profits received by
 5    Defendants in connection with the creation, marketing, distribution and sale of the
 6    Infringing Composition, Infringing Sound Recording and Infringing Album.
 7          105. Accordingly, due to the abovementioned violations of federal, state,
 8    and common law, Plaintiffs demand that the Defendants render an accounting to
 9    ascertain the amount of such profits which have been realized to such violations.
10          106. As a direct and proximate result of the Defendants’ misappropriation,
11    Plaintiffs have been damaged, and Defendants have been unjustly enriched, in an
12    amount to be proven at trial for which damages and/or restitution and
13    disgorgement are appropriate. Such damages and/or restitution and disgorgement
14    should include a declaration by this Court that Defendants, and each of them, are
15    constructive trustees for the benefit of Plaintiffs and order that Defendants convey
16    to the Plaintiffs all gross receipts and benefits received or to be received that are
17    attributable to the infringement of the Original Composition and/or Original Sound
18    Recording.
19          107. The exact amount of money due from Defendants is unknown to
20    Plaintiffs, and can only be ascertained through an accounting.
21                                      JURY DEMAND
22          Plaintiffs demand a trial by jury on all issues in this action.
23                                 REQUEST FOR RELIEF
24          WHEREFORE, Plaintiffs respectfully request that this Court enter a final
25    judgment in their favor and as against Defendants, jointly and severally, as
26    follows:
27          1.     Determining that Defendants have infringed on Plaintiffs’ copyright
28

                               COMPLAINT FOR DAMAGES
                                                 26
     Case 2:16-cv-08056-RSWL-SK Document 1 Filed 10/28/16 Page 27 of 28 Page ID #:27




 1    interests in the Copyrighted Works;
 2          2.     That Defendants, and their agents, employees, and all other persons in
 3    active concert or privity or in participation with them, be enjoined from directly or
 4    indirectly infringing on Plaintiffs’ copyright in the subject Copyrighted Works or
 5    from continuing to market, offer, sell, dispose of, license, lease, transfer, display,
 6    advertise, reproduce, develop, or manufacture any works derived, copied, and/or
 7    sampled from the Copyrighted Works, in whatever medium, or to participate or
 8    assist in any such activity;
 9          3.     That Defendants, and all their representatives, agents, servants,
10    employees, officers, directors, partners, attorneys, subsidiaries, and all persons
11    under their control or acting in active concert or participation with them, be
12    ordered to immediately post a notice on each of its websites stating that the prior
13    use of the subject Copyrighted Works was unauthorized;
14          4.     That Defendants, their affiliates and licensees, immediately cease and
15    desist from any further recording, reproduction, distribution, transmission, or other
16    use of the Copyrighted Works;
17          5.     That judgment be entered in favor of Plaintiffs and against Defendants
18    for the actual damages suffered by Plaintiffs and for any profits attributable to the
19    infringements of Plaintiffs’ copyright in the Copyrighted Works, the amount of
20    which, at present, cannot be fully ascertained;
21          6.     That judgment be entered in favor of Plaintiffs and against Defendants
22    for statutory damages based on Defendants acts of infringement, pursuant to 17
23    U.S.C. § 504;
24          7.     That all gains, profits, and advantages derived by Defendants from
25    their acts of infringement and other violations of law be deemed to be held in
26    constructive trust for the benefit of Plaintiffs;
27          8.     That Defendants be ordered to furnish to Plaintiffs a complete and
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                                COMPLAINT FOR DAMAGES
                                                  27
     Case 2:16-cv-08056-RSWL-SK Document 1 Filed 10/28/16 Page 28 of 28 Page ID #:28




 1    accurate accounting of any and all profits earned in connection with their use of the
 2    subject Copyrighted Works, Infringing Work and Infringing Album;
 3          9.     That judgment be entered in favor of Plaintiffs and against Defendants
 4    for punitive damages for their willful disregard of Plaintiffs’ rights;
 5          10.    That judgment be entered against Defendants for Plaintiffs’ costs,
 6    disbursement and attorneys’ fees pursuant to 17 U.S.C. §§ 101, et seq.; and
 7          11.    That the Court grant such other and further relief as this Court deems
 8    just, proper, and equitable under the circumstances.
 9
10    Dated: August 30, 2016                  IVIE, McNEILL & WYATT
11
12                                     By:     __/S/ Antonio K. Kizzie, Esq.__________
                                                     RICKEY IVIE
13                                                   RODNEY S. DIGGS
14                                                   ANTONIO K. KIZZIE
                                                     ELVIN TABAH
15
                                                     SAMUEL CHILAKOS
16                                                   ATTORNEYS FOR Plaintiffs
17
                                                     YOURS MINE AND OURS
                                                     MUSIC, LARRY WHITE, Estate of
18                                                   GRADY WILKINS, by and
19                                                   through his heir CONNIE
                                                     WILKINS, Estate of LEE PETERS,
20                                                   by and through his heir LISA
21                                                   PETERS
22
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                               COMPLAINT FOR DAMAGES
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